Case 8:13-cv-01785-VMC-MAP Document 16 Filed 12/20/13 Page 1 of 2 PageID 58
Case 8:13-cv-01785-VMC-MAP Document 16 Filed 12/20/13 Page 2 of 2 PageID 59



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

December 20, 2013, via the Court Clerk’s CM/ECF system which will provide notice to the

following: Jason Gaza, Pro Se Plaintiff, at gizmosdaddy.gaza@gmail.com.


                                                  /s/ Mary Grace Dyleski
                                                  Mary Grace Dyleski
                                                  Florida Bar No.: 143383
                                                  dyleski@urbanthier.com
                                                  Urban, Thier, Federer & Chinnery, P.A.
                                                  200 S. Orange Avenue, Suite 2000
                                                  Orlando, FL 32801
                                                  Phone: (407) 245-8352
                                                  Fax: (407) 245-8361
                                                  Attorneys for Defendant
